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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

United States of America,

              Plaintiff,                              Criminal No. 14-20(2) (MJD/SER)
v.

Juana Trujillo-Granados,                                              ORDER

              Defendant.


       LeeAnn K. Bell, Esq., United States Attorney’s Office, 600 U.S. Courthouse, 300 South
Fourth Street, Minneapolis, Minnesota 55101, for Plaintiff.

      Shannon R. Elkins, Esq., Office of the Federal Defender, 300 South Fourth Street, Suite
107, Minneapolis, Minnesota 55415, for Defendant.
______________________________________________________________________________

       The above-entitled matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Steven E. Rau, dated May 30, 2014 [Docket No. 101]. No

objections have been filed to that Report and Recommendation in the time period permitted.

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

       1.     Trujillo-Granados’s Motion to Suppress Search and Seizure [Doc. No. 72] is

              DENIED; and

       2.     Trujillo-Granados’s Motion to Suppress Statements, Admissions and Answers

              [Doc. No. 73] is DENIED as moot.

Dated: June 13, 2014
                                                          s/Michael J. Davis
                                                          Michael J. Davis
                                                          Chief Judge
                                                          United States District Court
